(1 of 1), Page 1 of 1                  Case: 24-162, 01/19/2024, DktEntry: 6.1, Page 1 of 1


                                  UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT
                                    CRIMINAL APPEAL TRANSCRIPT INFORMATION - FORM B

              TO BE COMPLETED BY ATTORNEY:

              CASE NAME:                  UNITED STATES OF AMERICA                                                            _ v.

                                           STEVEN PEREZ
              DOCKET NUMBER:              24-162

              COUNSEL’S NAME:             Federal Defenders of New York, Inc.
              COUNSEL’S ADDRESS:          52 Duane Street - 10th Floor
                                           New York, N.Y. 10007
              COUNSEL’S PHONE:            (212) 417-8742
                                                               QUESTIONNAIRE

                            □
                            ✔ I am ordering a transcript.
                            ___

                            □
                                                                          B
                            ___ I am not ordering a transcript. Reason: ___ Daily copy available □___ U.S. Atty. placed order
                                                                        ___Other (attach explanation)

                                                              TRANSCRIPT ORDER

                        Prepare transcript of

                          □ Pre-trial proceedings:_
                          ___
                                                                             (Description & Dates)

                          □
                          ___ Trial:
                                                                             (Description & Dates)

                          □
                          ✔ Sentencing:_ January 8, 2024
                          ___
                                                                             (Description & Dates)

                          □
                          ___ Post-trial proceedings:
                                                                             (Description & Dates)

                        I, Barry D. Leiwant                      , hereby certify that I will make satisfactory arrangements with
                                (counsel’s name)

              the court reporter for payment of the costs of the transcript in accordance with FRAP 10(b).

                        Method of payment:       □
                                                 ✔
                                                 ___Funds □
                                                          ___CJA Form 24

                                %DUU\'/HLZDQW
                                Counsel’s Signature
                                                                                                1/19/2024
                                                                                                        Date


              TO BE COMPLETED BY COURT REPORTER AND FORWARDED TO COURT OF APPEALS:

                                                              ACKNOWLEDGMENT

                        Date order received:                                          Estimated Number of Pages:

                        Estimated completion date:



                                 Court Reporter’s Signature                                             Date

              Attorney(s): Send completed form to the U.S. District Court as that court may require and send copies to the
              Court of Appeals, U.S. Attorney’s Office, and Court Reporter.
              Court Reporter(s): Send completed acknowledgement to the Court of Appeals Clerk.
